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                       UNITED STATES DISTRICT COURT FOR THIS
                         EASTERN DISTRICT OF PENNSYLVANIA

DYNASTY VENTURES LLC

        vs.                                              Civil Action No.: 2:19-cv-01826

STATE FARM FIRE AND
CASUALTY COMPANY

    ANSWER OF DEFENDANT,STATE FARM FIRE AND CASUALTY COMPANY,
              TO COMPLAINT WITH AFFIRMATIVE DEFENSES

        Defendant, State Farm Fire and Casualty Company ("State Farm"), by and through its

attorneys, Bennett, Bricklin and Saltz burg LLC, hereby answers           plaintiffs complaint and, in

support thereof, avers    as   follows:

        1.         Denied only insofar as, after reasonable investigation, the means of proof are within

the exclusive control of parties other than answering defendant which therefore demands strict


proof of these allegations.

        2.         Admitted in part; denied in part. It is admitted that State Farm is a corporation

organized and existing under the laws of the State of Illinois and authorized to do business in

Pennsylvania. It is denied that State Farm "regularly issues           policies" in Philadelphia since

defendant is not certain what is meant by these allegations and, if relevant, demands strict proof of

same.


        3.         Admitted to the extent that State Farm did issue a Rental DwellingPolicy to the

insured, Dynasty Ventures LLC, Policy No. 98-C9-L478-7 for the property located at the address

in the complaint. A true and correct copy of the certified Rental DwellingPolicy in effect at the

time of the loss    is attached as Exhibit   "A".

        4.         Admitted in part and denied in part. It is admitted only that the subject insurance

policy identified herein was in effect on March 28, 2018, and it is a document which speaks for
               Case 2:19-cv-01826-BMS Document 5 Filed 06/03/19 Page 2 of 24




itself and any attempt to characterize same          is denied. By way of further answer, after reasonable


investigation defendant is without knowledge or information sufficient to form a belief as to the

truth of the remaining averments of this paragraph of the complaint, and they are therefore denied.

          5.         Admitted      in part;   denied in part. Answering defendant,              after reasonable

investigation, is without knowledge or information sufficient to form a belief as to the truth and

accuracy of these allegations as the means of proof are within the exclusive control of parties other

than the defendant. Strict proof of all allegations is demanded and same             are   denied. It is admitted

that plaintiff did provide notice of the claim on the date that the loss occurred.

          6.         Denied. It is denied that State Farm has acted without justification or                  cause   in

denying plaintiffs claim and, to the contrary, the claim has not been denied. Further, State Farm

performed an extensive investigation of the claim, in response to a concern                     that there was        no


"accidental direct physical loss" as required under the policy, pursuant to a Reservation of Rights.

(See Exhibit "B", letter of May 17, 2018.)

          7.         Denied.       Answering defendant,      after reasonable       investigation,       is   without

knowledge or information sufficient to form a belief as to the truth and accuracy of the allegations

set   forth in this paragraph as the means of proof are within the exclusive control of parties other

than the defendant. Strict proof of all allegations is demanded and same             are   denied.

                             COUNT I      -
                                              BREACH OF CONTRACT

          8.         Defendant incorporates by reference its responses to Paragraphs                 1
                                                                                                         through 7,

inclusive, of plaintiffs complaint as though the same was           set forth   fully herein.
          9.         Insofar as the contract is a document which speaks for itself, any attempt to interpret

or    characterize   same   is   denied. To the extent that this requires further response, defendant avers
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that it has acted in accordance with the terms of the insurance contract at all relevant times and

demands strict proof of all allegations to the contrary.

        10.     Denied in that, after reasonable investigation, the means        of proof are within the

control of parties other than answering defendantwho is therefore unable to form a belief as to the

truth and accuracy of the allegations. Strict proof is demanded.

        11.     Denied in that State Farm has not denied this claim. To the contrary, investigation

and the adjustment of the claim are ongoing pursuant to a Reservation of Rights. All allegations to

the contrary are denied and deemed at issue. (See Exhibit "B".)

        12.     Denied in that State Farm has not denied the claim nor has it refused to indemnify

plaintiff. To the contrary, State Farm continues to investigate and adjust the claim pursuant to a

Reservation of Rights. (Exhibit "B".)

        WHEREFORE, Defendant, State Farm Fire and Casualty Company, asks that judgmentbe

entered in its favor and against Plaintiff on Count I of the complaint.

                                   COUNT II-BAD      FAITH

        13.     Defendant incorporates by reference its responses to Paragraphs           1
                                                                                              through 12,

inclusive, of plaintiffs complaint as though the same was     set forth   fully herein.
        14.     Denied. On the contrary, at all times defendant has investigated and adjusted

plaintiffs loss in a fair manner    and in good faith, in compliance with the terms of the policy. All


allegations to the contrary are denied and deemed at issue.

        15.     Denied. All allegations are denied and deemed at issue with strict proof demanded.

Further, by virtue of plaintiffs failure to identify the alleged agents, servants, workmen and

employees it is unable to form a belief as to the truth and accuracy of the allegations in this

paragraph. Defendant further denies the subparagraphs of paragraph 15 as follows:
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        a.      Denied. State Farm has not misrepresented any fact regarding the loss        or


damage and, further, has acted promptly, reasonably, and with full regard for the terms of

the policies and the parties to it;

        b.      Denied. State Farm immediately and thoroughly investigated the             loss


pursuant to a Reservation of Rights (See Exhibit 'B'). All allegations to the contrary are

denied and deemed at issue;

        c.      Denied and, to the contrary, the issue of coverage must be resolved before

there is an obligation to make a payment on any claim. State Farm has acted promptly and

reasonable at all times and strict proof of all allegations to the contrary is demanded;

        d.      Denied and, to the contrary, State Farm       has   and continues to   fairly,

objectively, and properly investigate and evaluate this claim. Strict proof of all allegations

is demanded.


        e.      Denied and, to the contrary, State Farm performed a prompt, thorough, fair

and reasonable investigation of plaintiffs claim. The investigation included, but was not

limited to, Examinations Under Oath, securing of necessary records from police and fire

departments, phone records and credit check, and retention of the services and eventual

report of an Origin and Cause expert. Any delays were not caused by State Farm or its

representatives and allegations to the contrary are denied;

        f.      Denied and to the contrary, State Farm continues to investigate and adjust

the loss. Strict proof of all allegations is demanded.


        g.      Denied and, to the contrary, State Farm performed a prompt, thorough, fair

and reasonable investigation into the claim subject to a reservation of rights. Strict proof

of all allegations is demanded.
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          h.      Denied and, to the contrary, State Farm performed a prompt, thorough, fair

and reasonable investigation into the claim. State Farm's actions were grounded in fact and

were    neither frivolous nor baseless. Strict proof of all allegations is demanded.

          1.      Denied and, to the contrary, State Farm performed a prompt, thorough, fair

and reasonable investigation into the claim. State Farm's actions were grounded in fact and

were    objective and fair. Strict proof of all allegations is demanded.

          J.      Denied and, to the contrary, State Farm performed a prompt and fair

investigation of the loss and strict proof of all allegations to the contrary is demanded.

          k.      Denied and, to the contrary, State Farm relied on the clear terms of the

policy in the investigation and adjustment of the claim. All allegations to the contrary are

denied and deemed at issue.

          l.      Denied and it    1s   averred, to the contrary, that State Farm did not

misrepresent any facts or      policy provisions at any time during the investigation and

handling of this claim.

          m.      Denied. State Farm regularly communicated            with the plaintiff and its

representatives regarding the status and activities related to the claim. All allegations to the

contrary are denied and deemed at issue.

          n.      Denied in that State Farm has reasonably adjusted the claim, and that

adjustment is ongoing. Strict proof of all allegations is demanded.

          o.      Denied. State Farm regularly communicated            with the plaintiff and its

representatives regarding the status and activities related to the claim. Further, the claim

has    not been denied. Strict proof of all allegations is demanded.
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                p.     Denied in that State Farm has reasonably adjusted the claim, and that

       adjustment is ongoing. Strict proof of all allegations is demanded.

                q.     Denied and, to the contrary, State Farm performed a prompt, thorough, fair

       and reasonable investigation into the claim. State Farm's actions were grounded in fact and

       were   objective and fair. Strict proof of all allegations is demanded;

                r.     Denied and to the contrary, defendant did not cause plaintiff to initiate this

       lawsuit. Further, State Farm performed           a   prompt, thorough, fair and reasonable

       investigation into the claim. State Farm's actions were grounded in fact and were objective

       and fair. Strict proof of all allegations is demanded.

        16.     Denied. On the contrary, at all times relevant hereto, State Farm acted in a

reasonable, non-frivolous and good faith manner       in its evaluation, investigation and handling of

the plaintiff's claim. It is specifically denied that defendant acted in bad faith in the handling of


plaintiff's claim and strict proof of allegations to the contrary is demanded.

       WHEREFORE, Defendant, State Farm Fire and Casualty Company, asks that judgmentbe

entered in its favor and against Plaintiff on Count II of the complaint.

                               FIRST AFFIRMATIVE             DEFENSE

       Plaintiff's claims may be barred,      or   limited, by the applicable statute of limitations,

including the suit limitation set forth in the applicable insurance policy.

                              SECOND AFFIRMATIVE              DEFENSE

       Plaintiff' claims may be barred by the doctrines oflaches, estoppel, accord and satisfaction,

consent, fair comment, payment and/or waiver.
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                                  THIRD AFFIRMATIVE           DEFENSE

         Plaintiff's claims may be barred, in whole or in part, because there have been no

compensable losses, occurrences, damages or expenditures.

                               FOURTH AFFIRMATIVE               DEFENSE

         Some or all of the damages claimed by plaintiff are not reasonable and necessary but are

instead excessive and unreasonable.

                                  FIFTH AFFIRMATIVE           DEFENSE

         Plaintiff may have breached the applicable insurance policy and, accordingly, State Farm

has no   duty under the policy.

                                  SIXTH AFFIRMATIVE           DEFENSE

         Plaintiff's claims may be barred in whole or in part by concealment and/or material

misrepresentation    of the plaintiff and/or plaintiff's agents, representatives, contractors and/or

workmen as to inter alia how the damages occurred and the specific items of damages.

                              SEVENTH AFFIRMATIVE               DEFENSE

         Plaintiff's claim is subject to all of the terms, conditions, limitations, exclusions, etc. in the

policy of insurance at issue in the case.

                               EIGHTH AFFIRMATIVE              DEFENSE

         Defendant State Farm's liability is based on the policy of insurance, which is the contract

between the parties, and application of a legal rule so as to broaden defendant State Farm's liability

would be a taking of property without due process of law.

                                  NINTH AFFIRMATIVE           DEFENSE

         Count II of Plaintiff's complaint fails to state a claim or cause of action for which relief

may be granted.
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                                  TENTH AFFIRMATIVE          DEFENSE

         Defendant State Farm's liability is based on the policy of insurance, which is the contract

between the parties, and application of a legal rule so as to broaden State Farm's      liability would
be an unconstitutional impairment of that insurance contract.

                              ELEVENTH       AFFIRMATIVE        DEFENSE

         Defendant State Farm's liability is based on the policy of insurance, which is the contract

between the parties, and application of a legal rule so as to broaden State Farm's liability is barred

as a matter   of equity.

                             TWELVETH       AFFIRMATIVE        DEFENSE

         Plaintiffs claims may be barred, in whole or in part, by the terms, conditions, exclusions,

exceptions, limitations, and/or limits of liability of the policy under which claim has been made.

                             THIRTEENTH        AFFIRMATIVE        DEFENSE

         Plaintiffs   complaint fails to allege any conduct sufficient to permit the imposition of

punitive damages under the applicable law.

                            FOURTEENTH         AFFIRMATIVE        DEFENSE

         All of the conduct on the part of State Farm with respect to plaintiffs claim and evaluation

thereof was predicated on reasonable and non-frivolous grounds, thus precluding a finding of bad

faith.

                              FIFTEENTH      AFFIRMATIVE        DEFENSE

         To the extent that it is judicially determined that any coverage is owing:

                 a)   Loss settlement is controlled by the applicable provisions of the policy including


                 policy limits;
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               b) Defendant State Farm in no event is obliged to pay more         than set forth in the


               policy and the limits of coverage;

               c)   Defendant State Farm reserves   all other rights as set forth in the policy.

       WHEREFORE, Defendant, State Farm Fire and Casualty Company,                       requests that

Plaintiffs Complaint be dismissed with prejudice, that judgment be entered in Defendant, State

Farm Fire and Casualty Company's favor and that State Farm Fire and Casualty Company be

awarded costs and such other and further relief as may be available and as the court deems


appropriate and just.

                                              BENNETT,BRICKLIN             & SALTZBURG LLC


                                      BY:     Isl Pamela A. Carlos
                                              PAMELA A. CARLOS,ESQUIRE
                                              I.D. No. 56396
                                               1601 Market Street, 16th Floor
                                              Philadelphia, PA 19103
                                              (215) 561-4300
                                              carlos@bbs-law.com
                                              Attorney for Defendant

Date: June 3, 2019
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                   UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA

DYNASTY VENTURES LLC

       vs.                                          Civil Action No.: 2:19-cv-01826

STATE FARM FIRE AND
CASUALTY COMPANY                                    JURY TRIAL OF 12 DEMANDED

                              CERTIFICATE      OF SERVICE

       I hereby certify that the foregoing Answer to Plaintiff's Complaint with Affirmative
Defenses was forwarded to the followingcounsel of record via the electronic filing system of the
United States District Court for the Eastern District of Pennsylvania and/or electronic and/or
regular mail, postage pre-paid as follows:

                       Mario Bamabei, Esquire
                       Wheeler, DiUlio & Bamabei, P.C.
                       One Penn Center Suite 1270
                                         -




                       1617 JFK Boulevard
                       Philadelphia, PA 19103


                                             BENNETT,BRICKLIN         & SALTZBURG LLC


                                      BY:    Isl Pamela A. Carlos
                                             PAMELA A. CARLOS,ESQUIRE
                                             I.D. No. 56396
                                              1601 Market Street, 16th Floor
                                             Philadelphia, PA 19103
                                             (215) 561-4300
                                             carlos@bbs-law.com
                                             Attorney for Defendant

Date: JUNE 3, 2019
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              EXHIBIT                 ''A''
                                      Case 2:19-cv-01826-BMS Document 5 Filed 06/03/19 Page 12 of 24



         Court of Common Pleas of Philadelphia County
                       Trial Division
                               Civil Cover Sheet
PLAINTIFF'S         NAME                                                                                                 DEFENDANT'S   NAME
 DYNASTY               VENTURES, LLC                                                                                       STATE FARM FIRE AND CASUALTY                          COMPANY


PLAINTIFF'S        ADDRESS                                                                                               DEFENDANT'S   ADDRESS
 1680 PHEASANT LANE                                                                                                        ONE STATE FARM PLAZA
 NORRISTOWN PA 19403                                                                                                       BLOOMINGTON IL 61710


PLAINTIFF'S         NAME                                                                                                 DEFENDANT'S   NAME




PLAINTIFF'S        ADDRESS                                                                                               DEFENDANT'S   ADDRESS




PLAINTIFF'S         NAME                                                                                                 DEFENDANT'S   NAME




PLAINTIFF'S        ADDRESS                                                                                               DEFENDANT'S   ADDRESS




TOTAL NUMBER OF PLAINTIFFS                           TOTAL NUMBER OF DEFENDANTS                  COMMENCEMENT                       OF ACTION

                                                                                           ...             @ Complaint                          D Petition Action                   D Notice of Appeal
                           1                                                                         1c:-:·?.,•."•':<




                                                                                                 .         D Writ of Summ                          Transfer From Other Jurisdictions

AMOUNT        IN   CONTROVERSY                  COURT     PROGRAMS

                                                D Arbitration                                                                                                                      D Settlement
D $50,000.00 or                Jess
                                                D Jury                                                                                                                             D Minors
lil More than $50,000.00                        Ii]                                                                                                                                D W/D/Survival
                                                D Other:
CASE    TYPE       AND CODE

   10     -
                    CONTRACTS OTHER


STATUTORY           BASIS FOR CAUSE OF ACTION




RELATED        PENDING CASES (LIST        BY    CASE CAPTION      AND DOCKET   NUMBER)                                    FILED                                     IS   CASE SUBJECT TO
                                                                                                                                                                    COORDINATION     ORDER?
                                                                                                             PROPROlHY                                                             YES         NO


                                                                                          MAR 27 2019
                                                                                                                        M.BRYANT

TO THE PROTHONOTARY:

Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: DYNASTY VENTURES, LLC
Papers may be served at the address set forth below.


NAME OF PLAINTIFF'S/PETITIONER"S/APPELLANT'S
                                           ATTORNEY                                                                      ADDRESS

  MARIO L.                     BARNABE!                                                                                    LAW OFFICE OF JONATHAN WHEELER
                                                                                                                           1617 JFK BLVD
PHONE NUMBER                                               FAX   NUMBER                                                    SUITE 1270
   (215)568-2900                                           none      entered                                               PHILADELPHIA PA 19103

SUPREME            COURT IDENTIFICATION        NO.                                                                       E-MAIL ADDRESS

   317791                                                                                                                 mbarnabei@jwheelerlaw.com

SIGNATURE           OF FILING ATTORNEY         OR PARTY                                                                  DATE   SUBMITTED

  MARIO BARNABEI                                                                                                           Wednesday, March                 27, 2019,              03:01      pm

                                                                          FINAL COPY (Approved by the Prothonotary Clerk)
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                                                                                                              /-";·
                                                                      THIS IS NOT AN ARBITRAJIDN C /??!,·
                                                                      JURY TRIAL WAIVED. Filed                                        the
                                                                                                       .,
                                                                                                  ¡,:a


                                                                                               Of.fice¡/                           cords
WHEELER, DiULIO & BARNABEI,P.C.
BY: Mario Bamabei, Esquire                                                                       Aft6
Attorney I.D. No.: 317791
One Penn Center Suite 1270 -


1617 JFK Boulevard
Philadelphia, PA 19103
Phone: (215) 568-2900
Email: mbamabei(a),wdblee:al.com


                                                                   COURT OF COMMON PLEAS
 Dynasty Ventures, LLC                                             PHILADELPHIA COUNTY
 1680 Pheasant Lane
 Norristown, PA 19403
                                                                   MARCH TERM, 2019
           vs.


 State Farm Fire and Casualty Company                              DOCKET NO.
 One State Farm Plaza
 Bloomington, IL 6171 O


                               CIVIL ACTION COMPLAINT (IC-Contract)

                       NOTICE                                                                 AVISO

           You have been sued in court. If you wish to defend                 Le han demandado a usted en la corte. Si usted
against the claims set forth in the following pages, you must      quiere defenderse de estas demandas expuestas en las paginas
take action within twenty (20) days after this complaint and       siguientes, usted tiene veinte (20) dias de plazo al partir de la
notice are served, by entering a written appearance personally     fecha de la demanda y la notificacion. Hace falta ascentar una
or by attorney and filing in writing with the court your           comparencia escrita o en persona o con un abogado y entregar
defenses or objections to the Claims set forth against you. Y ou   a la corte en forma escrita sus defensas o sus objeciones a las
are warned that if you fail to do so the case may proceed          demandas en contra de su persona. Sea avisado que si usted no
without you and a judgment may be entered against you by the       se defiende,   la corte tomara medidas y puede continuar la
court without further notice for any money claimed in the          demanda en contra suya sin previo aviso o notificacion.
complaint or for any other claim or relief requested by the        Ademas, la corte puede decider a favor del demandante y
plaintiff. You may lose money or property or other rights          requiere que usted cumpla con todas las provisiones de esta
important to you.                                                  demanda. Usted puede perder dinero o sus propiedades u otros
          YOU SHOULD TAKE THIS PAPER TO YOUR                       derechos importantes para usted.
LA WYER AT ONCE. IF YOU DO NOT HAVE A                                         LLEVE ESTA DEMANDA A UN ABOGADO
LA WYER, GO TO OR TELEPHONE THE OFFICE SET                         IMMEDIATAMENTE. SI NO TIENE ABOGADO O SI NO
FORTH BELOW TO FIND OUT WHERE YOU CAN GET                          TIENE EL DINERO SUFICIENTE DE PAGAR TAL
LEGAL HELP.                                                        SERVICIO. VAYA EN PERSONA O LLAME POR
                                                                   TELEFONO A LA OFICINA CUYA DIRECCION SE
           PHILADELPHIA BAR ASSOCIATION                            ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
                   Lawyer Referral Service                         DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.
                       Market St., I I th Floor
                  11 O I                                              ASOCIACIONDE LICENCIADOS DE FILADELFIA
                 Philadelphia, PA 19107-291 I                             Servicio De Referencia E Informacion Legal
                                                                                  11 OI Market Street, I ¡th Floor
                  Telephone: 215-238-6333
                      Fax: 215-238-1159                                           Filadelfia, Pennsylvania 19107
                                                                                           (215) 238-6333




                                                                                                                        Case ID: 190303628
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                                                        THIS IS NOT AN ARBITRATION CASE.
                                                        JURY TRIAL WAIVED.
WHEELER, DiULIO & BARNABEI, P.C.
BY: Mario Barnabei, Esquire                                                   Attorney for Plaintiff(s)
Attorney I.D. No.: 317791
One Penn Center Suite 1270
                  -


1617 JFK Boulevard
Philadelphia, PA 19103
Phone: (215) 568-2900
Email: mbarnabei@wdblegal.com


                                                     COURT OF COMMON PLEAS
 Dynasty Ventures, LLC                               PHILADELPHIA COUNTY
 1680 Pheasant Lane
 Norristown, PA 19403
                                                     MARCH TERM, 2019
         vs.


 State Farm Fire and Casualty Company                DOCKET NO.
 One State Farm Plaza
 Bloomington, IL 6171 O

                        CIVIL ACTION COMPLAINT (lC                -
                                                                      Contract)

        1.      Plaintiff, Dynasty Ventures, LLC is a corporate entity duly organized and existing

under the laws of the Commonwealth of Pennsylvania which maintains its principal place of

business at the address set forth above.

       2.       Defendant, State Farm Fire and Casualty Company, is a corporation duly

organized and existing which is authorized to conduct business as an insurance company within

the Commonwealth of Pennsylvania and maintains a place of business for that purpose at the

address set forth above and regularly issues policies of insurance within the City and County of

Philadelphia.

       3.       Defendant, in its regular course of business issued to Plaintiff a policy of

insurance ("the Policy") covering Plaintiffs property located at 939 West 9th St., Chester, PA,

19013 ("the Property"). A copy of the Policy is not in Plaintiffs possession, but a copy of same

is believed to be in defendant's   care, custody and control.



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        4.     On or about March 28, 2018, while the Policy was in full force and effect,

Plaintiff suffered direct physical loss and damage to the insured Property believed to be the result

of a peril insured against under the Policy, resulting in damage to the insured premises.

        5.     Notice of this covered loss was given to Defendant in a prompt and timely manner

and Plaintiff, at all relevant times, fully complied with all of the terms and conditions required by

the Policy.

        6.     Defendant, despite demand for benefits under the Policy, has refused, without

legal justification or cause, and continues to refuse, to pay to Plaintiff monies owed for the

damages suffered as a result of the Loss.

        7.     Solely as a result of Defendant's failure and refusal to pay benefits to Plaintiff as

required under the Policy, Plaintiff has suffered loss and damage in an amount in excess of

$50,000.00.

                                          COUNT!
                               In Assumpsit Breach of Contract
                                              -




        8.     Plaintiff incorporates by reference the facts and allegations contained in the

foregoing paragraphs as though fully set forth hereinafter at length.

        9.     Defendant is obligated by the terms of the contract to indemnify Plaintiffs loss.

        10.    Despite submission of reasonable proof and demand for full and complete

payment with respect to Plaintiffs Loss, Defendant has not paid to Plaintiff all of the policy

benefits to which they are entitled under the Policy.

        11.    Defendant's denial of coverage was made without a reasonable basis in fact.

        12.    Defendant's refusal to indemnify Plaintiffs   loss   constitutes a breach of the

insurance contract.




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         WHEREFORE, Plaintiff demands judgment against Defendant in an amount in excess of

$50,000.00, together with interest and court costs.

                                               COUNT II
                                  In Trespass   -   42 Pa.C.S.A. §8371

         13.     Plaintiff incorporates by reference the facts and allegations contained in the

foregoing paragraphs as though fully set forth hereinafter at length.

         14.     Defendant has engaged in bad faith conduct toward Plaintiff with respect to its

adjustment of Plaintiffs covered Loss, in violation of 42 Pa.C.S.A. §8371 et seq.

         15.     In furtherance of its bad faith and wrongfuldenial and refusal to pay benefits for

Plaintiffs covered Loss, Defendant, acting by and through its duly authorized agents, servants,

workmen or employees has engaged in the following conduct:

                 a.      in purposefully and unreasonably delaying the adjustment of Plaintiffs

claim and in participating in the misrepresentation as to the cause of loss and the cost to repair

Plaintiffs damaged Property;

                 b.      in repeatedly ignoring Plaintiffs requests for a coverage decision which

was   aimed at avoiding litigation, but instead, by doing so, forcing Plaintiff to initiate a legal

proceeding;

                 c.      in purposefully withholding benefits due and owing under the policy,

without any reasonable basis;

                 d.      in purposefully evading of the spirit of the bargain, exhibiting a lack of

diligence and completely slacking off with respect to the investigation and adjustment of

Plaintiffs claim;




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                e.      in failing to complete a prompt and thorough, good faith investigation of

Plaintiffs claim, and specifically taking over   one   (I) year from the date of loss to investigate
Plaintiffs claim and, even then, refusing to issue a coverage decision;

                f.      in failing to pay Plaintiffs covered loss in a prompt and timely manner;

                g.      in acting in a dilatory manner   and without proper diligence in

investigating Plaintiffs claim;

                h.      in frivolously and baselessly refusing to pay the proceeds of the policy due

and owing to Plaintiff;


                1.      in failing to objectively and fairly evaluate Plaintiffs claim;

               J.       in conducting an unfair and unreasonable investigation of Plaintiffs

claim;

                k.      in asserting potential Policy defenses without a reasonable basis in fact;


                l.      in flatly misrepresenting pertinent facts or policy provisions relating to

coverages at issue and placing undulyrestrictive interpretations on the Policy and/or claim

forms;

                m.      in failing to properly communicate with the Plaintiff regarding the status

of their claim and failing to keep Plaintiff or their representatives fairly and adequately advised

as to the status of the claim   in violation of the Pennsylvania Unfair Claims Practices Act;

                n.      in unreasonably valuing the loss and failing to fairly negotiate the amount

of the loss with Plaintiff or their representatives;

                o.      in failing to promptly provide a reasonable factual explanation of the basis

for the denial of Plaintiffs claim;

                p.      in unreasonably withholding policy benefits;




                                                                                                Case ID: 190303628
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                q.     in acting unreasonably and unfairly in response to Plaintiff's claim;

                r.     in unnecessarily and unreasonably compelling Plaintiff to institute this

lawsuit to obtain policy benefits for a covered loss, that Defendant should have paid promptly

and without the necessity of litigation.

        16.     For the reasons set forth above, Defendant has acted in bad faith in violation of 42

Pa.C.S.A. §8371, for which Defendant is liable for statutory damages including interest from the

date the claim was made in an amount equal to the prime rate of interest plus three percent, court


costs, attorneys' fees, punitive damages, and such other compensatory and/or consequential


damages as are permitted by law.

       WHEREFORE, Plaintiff demands judgment against Defendant in an amount in excess

of $50,000.00, together with interest, court costs, counsel fees and damages for delay.


                                       WHEELER, DiULIO & BARNABE!, P.C.


                                       BY:     Isl Mario Barnabei
                                              Mario Barnabei, ESQUIRE
                                              Attorney for Plaintiff(s)


Date: March 27, 2019




                                                                                            Case ID: 190303628
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       The undersigned hereby stat.cs that he is the plaintiff in this action and that the statemen1s   of

fact made in the foregoing document are true and correct to the best of his information and belief.

The undersigned understands that the statements herein are made subject to the penalties of 18 Pa.

Cons. Stat. Ann. § 4904 rela.ting to unsworn   falsification to authorities.




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THE   PROPERTY DAMAGE ATTORNEYS                                                                                       .•                ..          ·:       02       1   p
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l\ladelphia, Pennsylvania 19103


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              EXHIBIT                  ''B''
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May 17, 2018


Dynasty Ventures LLC                                   State Farm Claims
1680 Pheasant Ln                                       PO Box 52258
Norristown PA 19403-3332                               Phoenix AZ 85072-2258




CERTIFIED MAIL - RETURN RECEIPT REQUESTED & REGULAR MAIL

RE:    Claim Number:          38-3491-H66
       Date of Loss:          March 28, 2018
       Policy Number:         98C9L4787
       Insured:               Dynasty Ventures Llc

Dear Shane Goff DBA Dynasty Ventures LLC:

There is a question as to whether State Farm Fire and Casualty Company is obligated to
indemnify you under the policy for loss which is alleged to have occurred on or about March 28,
2018, at 939 W 9th St Chester PA 19013 , because:

       There is a question whether you have suffered an accidental direct physical loss that is
       covered by this policy.

       There is a question whether you or any insured have concealed or misrepresented any
       material information in the process of a claim.

       Please be advised of the policy Conditions which state:

       8. Suit Against Us. No action shall be brought unless there
          has been copmliance with the policy provisions and the
          action is started within one year after the date of loss
          or damage.

For these reason(s) and for other reasons which may become known, you are hereby notified
that any action taken by State Farm Fire and Casualty Company or its authorized
representatives to investigate the cause of loss, determine the amount of loss or damage, or
attempt to adjust any claim arising out of the alleged loss shall not waive any of the terms or
conditions of the policy of insurance described above, nor shall such action waive any of your
rights under the policy. If we do not hear from you to the contrary, we will assume that it is
acceptable for us to continue handling the case on these terms.
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Page 2
May 17, 2018


The Company does not intend, by this letter, to waive any policy defense in addition to those
stated above, but specifically reserves its right to assert such additional policy defenses at any
time.

Sincerely,



Andrea Fury
Claim Specialist
(800) 331-1169 Ext. 2534287493
Fax: (844) 236-3646

State Farm Fire and Casualty Company
